Case 6:20-cv-06413-EAW Document1 Filed 06/17/20 Page 1of5

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

MITCH LACLAIR,

Plaintiff,
vy Civil Action No.

TRANSWORLD SYSTEMS, INC.,

Defendant.

 

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COMPLAINT AND DEMAND FOR JURY TRIAL
1. INTRODUCTION
This is an action for actual and statutory damages brought in response to Defendants’
violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 er seg. (hereinafter
"FDCPA") which prohibits debt collectors from engaging in abusive, deceptive, and
unfair practices, and the Telephone Consumer Protection Act of 1991 (hereinafter
referred to as the “TCPA”).
II. JURISDICTION AND VENUE
Jurisdiction of this Court arises under 15 U.S.C. §1692k(d) and 28 U.S.C. § 1331.

Venue is proper in this district under 28 U.S.C, §1391(b) in that the Defendants transact
business here and the conduct complained of occurred here.

II. PARTIES
Plaintiff Mitch Laclair a natural person residing in the County of Monroe and State of
New York, and is a “consumer” as that term is defined by 15 U.S.C.§1692a(3).
Transworld Systems, Inc., is a foreign business corporation organized and existing under
the laws of the State of California and is a “debt collector” as that term is defined by 15

U.S.C. §1692a(6).

Defendant regularly attempts to collect debts alleged to be due another.
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Case 6:20-cv-06413-EAW Document1 Filed 06/17/20 Page 2 of 5

That at all times relevant herein, Defendant owned, operated and/or controlled “customer
premises equipment” as defined by the TCPA, 47 U.S.C.§153(16), that originated,
routed, and/or terminated telecommunications.

That at all times relevant herein, Plaintiff was and is a “person” as defined by the TCPA,
47 U.S.C. §153(39).

That at all times relevant herein, Defendant has used the United States mail service,
telephone, telegram and other instrumentalities of interstate and intrastate commerce to
attempt to contact consumers.

That Defendant, at all times relevant herein, engaged in “interstate communications” as
that term is defined by the TCPA, 47 U.S.C. §153(28).

That Defendant, at all times relevant herein, engaged in “telecommunications” as defined
by the TCPA, 47 U.S.C. §153(50).

That Defendant, at all times relevant herein, used, controlled and/or operated “wire
communications” as defined by the TCPA, 47 U.S.C. §153(59), that existed as
instrumentalities of interstate and intrastate commerce.

The acts Defendant alleged hereinafler were performed by its respective employees
acting within the scope of their actual or apparent authority.

IV. FACTUAL ALLEGATIONS

That Plaintiff does not owe any debt but was contacted by the Defendant in an effort to
collect a debt from someone other than the Plaintiff. This debt will be referred to as the
“subject debt.”

That the subject debt arose out of a transaction in which money, services or property,
which was the subject of the transaction, was primarily for personal, family and/or
household purposes, As such, said debt is a “debt” as that term is defined by 15 U.S.C.
§1692a(5),

That this person, who is not the Plaintiff, defaulted on the subject debt.
That upon information and belief, Defendant was employed to collect on the subject debt.
That in or about May 25, 2020, Defendant began calling Plaintiff on his cellular

telephone multiple times per week and sometimes multiple times per day, in an attempt to
collect on the subject debt.

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Case 6:20-cv-06413-EAW Document1 Filed 06/17/20 Page 3 of 5

That in or about May 30. 2020, Plaintiff answered a call from Defendant. Upon
answering, there was a click and a pause and then a representative came on the line.
During this conversation, the Defendant failed to identify themselves despite Plaintiff's
repeated inquires of who they were and why they were calling him on his cellular
telephone.

Plaintiff then called back the number on his caller id that he was receiving calls from and
spoke to a different representative of the Defendant who identified the name of the
company and that they were calling for someone other than the Plaintiff.

. That Defendant initiated multiple telephone calls to Plaintiff's cellular telephone using an

automated telephone dialing system and/or transmitted prerecorded voice messages
and/or transmitted messages using an artificial voice.

. That the Plaintiff never provided his express consent to the Defendant to call his cellular

telephone using and ATDS as defined by the TCPA.

. That as a result of Defendant’s acts Plaintiff became nervous, upset, anxious, and

suffered from emotional distress.

V. COUNT ONE
(Fair Debt Collection Practices Act
and 15 U.S.C. §1692 et seq.)

. Plaintiff repeats, realleges and incorporates by reference the allegations contained in

paragraphs | through 23 above.

. The conduct of Defendant as described in this complaint violated the Fair Debt

Collection Practices Act (15 U.S.C. §1692 et seq.) as follows:

Defendant violated 15 U.S.C §1692d(6) by not disclosing Defendant's identity
when calling the Plaintiff.

. That as a result of the Defendant FDCPA violations as alleged herein, Plaintiff became

nervous, upset, anxious and suffered from emotional distress.

V1. COUNT TWO
(Telephone Consumer Protection Act of 199]
and 47 C.F.R.64.1200, et seq.)

. Plaintiff repeats, realleges and incorporates by reference the preceding and succeeding

paragraphs in this complaint as if each of them was reprinted herein below.

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Case 6:20-cv-06413-EAW Document1 Filed 06/17/20 Page 4 of 5

. The Defendant at all times material and relevant hereto, unfairly, unlawfully,

intentionally, deceptively and/or fraudulently violated the TCPA, 47 U.S.C.§227, et seq.
and 47 C.F.R.14.1200, et seq. and TCPA, 47 U.S.C.§227(b)(1)(A)(iii) by initiating
telephone calls to Plaintiffs cellular telephone using an automated telephone dialing
system and/or using an artificial and/or prerecorded voice to deliver messages without
having the consent of Plaintiff to leave such messages.

. The acts and/or omissions of the Defendant at all times material and relevant hereto, as

described in this Complaint, were done unfairly, unlawfully, intentionally, deceptively
and fraudulently and absent bona fide error, lawful right, legal defense, legal justification
or legal excuse.

The acts and/or omissions of the Defendant at all times material and relevant hereto, as
described in this Complaint, were not acted or omitted pursuant to 47
C.F.R.§64,1200(f)(2).

As a causally-direct and legally proximate result of the above violations of the TCPA, the
Defendant at all times material and relevant hereto, as described in this Complaint,
caused the Plaintiff to sustain damages as a result of their innumerable telephone calls
that harassed, annoyed and abused Plaintiff, and disturbed her peace and tranquility at
home and elsewhere.

. As a causally-direct and legally proximate result of the above violations of the TCPA, the

Defendant at all times material and relevant hereto, as described in this Complaint,
caused the Plaintiff to sustain damages and experience emotional distress,

. As a causally-direct and legally proximate result of the above violations of the TCPA, the

Defendant at all times material and relevant hereto, as described in this Complaint, is
liable to actual damages, statutory damages, treble damages, and costs and attorneys’
fees.

Plaintiff received multiple telephone calls from an automatic telephone dialing system
and/or an artificial and/or prerecorded voice entitling Plaintiff to Five Hundred Dollars
and No Cents ($500.00) for each artificial and/or prerecorded telephone call pursuant to
the TCPA, 47 U.S.C.§227(b)\(3)(B).

The Defendant caused said telephone calls of an artificial and/or prerecorded nature to be
placed willfully and/or knowingly entitling each Plaintiff to a maximum of treble
damages, pursuant to TCPA, 47 U.S.C.§227(b)(3)

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendant

for:

(a) Actual damages;

(b) Statutory damages pursuant to 15 U.S.C. §1692k and 47 U.S.C.§223(b)(3)(B).
Case 6:20-cv-06413-EAW Document1 Filed 06/17/20 Page 5o0f5

(c) Treble statutory damages pursuant to 47 U.S.C. §227b(3).
(d) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C, § 1692k.

(e) For such other and further relief as may be just and proper.

VIL. JURY DEMAND

Please take notice that Plaintiff demands trial by jury in this action.

Dated: June 16. 2020

Séth4/ Andrews, Esq.

Ke neth R. Hiller, Esq.

Law Offices of Kenneth Hiller, PLLC

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